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                                                                         FILED
                    UNITED STATES COURT OF APPEALS
                                                                      DECEMBER 2, 2024
                            FOR THE NINTH CIRCUIT                    MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS


DE ANTOINE WARREN,                                No. 24-7220
                                                  D.C. No.
             Plaintiff - Appellant,
                                                  2:24-cv-02014-JJT
                                                  District of Arizona,
 v.                                               Phoenix
TIFFANY KOSTAS, Supervisor; et al.,               REFERRAL NOTICE

             Defendants - Appellees,

and

UNIVERSITY OF
ARIZONA and UNIVERSITY OF
ARIZONA GLOBAL CAMPUS, Named as
UAGC,

             Defendants.



      This matter is referred to the district court for the limited purpose of

determining whether in forma pauperis status should continue for this appeal or

whether the appeal is frivolous or taken in bad faith. See 28 U.S.C. § 1915(a)(3);

see also Hooker v. American Airlines, 302 F.3d 1091, 1092 (9th Cir. 2002)

(revocation of forma pauperis status is appropriate where district court finds the

appeal to be frivolous).

      If the district court elects to revoke in forma pauperis status, the district court

is requested to notify this court and the parties of such determination within 21
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days of the date of this referral. If the district court does not revoke in forma

pauperis status, such status will continue automatically for this appeal pursuant to

Fed. R. App. P. 24(a).

      This referral shall not affect the briefing schedule previously established by

this court.



                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT
